64/89/1999 89:13 414-656-3313

Final

JENSEN, JULIE
Patient MRN: ME-K
PATIENT ID: 12161 Loc:

Age:

Svc:

DOCTOR UNASSIGNED,

ST

Oxrgz:

CATHERINE'S LAB PAGE 41

St. Catherine's Hogspite
Dept. of Laboratory Medicine
3556 - 7th Avenue
Sex: F Kenosha, WI 53140
Race:
414-656-3294

Key: H: High li: Low AB: Abnormal

UA: Unknown H*: Critical High L*:

As of: 04

7/09/99 04:40

Registration Date: Registration Time;
Report for: DOCTOR UNASSIGNED
. CHEMISTRY
pit AUTOMATED CHEMISTRY
04/08/1999 | NORMAL
TRETY 12:00 RANGES UNITS
SODIUM 145 UN mmol/L
POTASSIUM 14.9 mmol/L
CHLORIDE 125 UN mEq/L
BUN 24 UN tig/dl
C02 22 UN ‘mmol/L
Comments: =l1=: VITREOUS HUMOUR FLUID
=2=: VITREOUS HUMOUR FLUID
=3=: VITREOUS HUMOUR FLUID
=: VITREQUS HUMOUR FLUID
=5=: VITREOUS HUMOUR FLUID
FEB 19 2008
REBECCA MATOSKA-MENTINK
CLERK OF CIRCUIT COURT

UN: Unknown HH; AttnHigh LL: AttnLow *: Attn
Critical Low **: Critical UC: Unknown {)}: New Resu

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